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                        Exhibit 3
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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION                     )
OPIATE LITIGATION                                )
                                                 )            MDL No. 2804
This document relates to:                        )
                                                 )            Case No. 17-md-2804
City of Cleveland v. Purdue Pharma L.P., et al., )
Case No. 18-OP-45132 (N.D. Ohio)                 )            Hon. Dan Aaron Polster
                                                 )
The County of Cuyahoga v. Purdue Pharma          )
L.P., et al., Case No. 17-OP-45004 (N.D. Ohio) )
                                                 )
The County of Summit, Ohio, et al. v. Purdue     )
Pharma L.P. et al., Case No. 180OP-45090         )
(N.D. Ohio)                                      )
                                                 )
                                                 )
_______________________________________ )
        ALLERGAN’S FOURTH AMENDED OBJECTIONS AND RESPONSES
       TO PLAINTIFFS’ CORRECTED SECOND SET OF INTERROGATORIES

       Pursuant to Federal Rules of Civil Procedure 26 and 33 as well as the Case Management

Order (Dkt. No. 232) in In re: National Prescription Opiate Litigation, Defendant Allergan hereby

responds and objects to Plaintiff’s First Interrogatories (the “Requests”). Allergan incorporates all

objections and statements set forth in its August 31, 2018 Objections and Responses to Plaintiffs’

Second Set of Interrogatories, its October 22, 2018 First Amended Objections and Responses to

Plaintiffs’ Second Set of Interrogatories, its November 16, 2018 Second Amended Objections and

Responses to Plaintiffs’ Second Set of Interrogatories, and its January 22, 2019 Third Amended

Objections and Responses to Plaintiffs’ Second Set of Interrogatories to the extent not overruled

by the court or separately agreed-to.
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       In addition to the fact that Plaintiffs and their witnesses have not identified any specific
wrongdoing by Allergan entities or their former affiliates or any specific harm caused by any
conduct of these entities, Allergan refers Plaintiffs to the following facts as examples of those on
which it may rely in future proceedings in this matter with respect to Kadian®:
               •       The FDA originally approved Kadian®’s New Drug Applications in 1996.
               •       Allergan did not acquire Kadian® until December 2008.
               •       Allergan has not detailed or otherwise promoted Kadian® since at least
                       January 1, 2014.
               •       The limited promotion performed on Allergan’s behalf between 2009 and
                       2013 was entirely appropriate.
               •       The limited promotion of Kadian® performed during that short 2009-2013
                       timeframe was handled by individuals employed by InVentiv, and not
                       Allergan. Allergan personnel instructed InVentiv to promote Kadian®
                       consistent with Kadian®’s FDA-approved label, which contained
                       comprehensive warnings and information regarding Kadian®’s risks.
               •       Allergan did not engage in the promotional activities that Plaintiff alleges
                       other Defendants engaged in, such as use of “Key Opinion Leaders,” “front
                       groups” or “speakers’ bureaus” (as those terms are used in Plaintiff’s
                       Complaint) for the promotion of Kadian® or for the promotion of opioids
                       as a class.
               •       Kadian®’s market share has declined substantially since Allergan acquired
                       Kadian®. For example, in 2011, Kadian®’s market share was less than one
                       quarter of one percent. In 2016, for instance, Kadian®’s market share was
                       less than one twentieth of one percent.

        Allergan refers Plaintiffs to the following facts as examples of those on which it may rely
in future proceedings in this matter with respect to Norco®:
               •       No Plaintiff has made a single allegation of wrongdoing with respect to
                       Norco® at any point.
               •       The FDA originally approved Norco®’s Abbreviated New Drug
                       Applications (“ANDAs”) in 1997.
               •       Based on Allergan’s investigation to date, Allergan has not promoted
                       Norco® for approximately a decade and a half, since at least 2003.
               •       Norco®’s market share has declined substantially since approval of its
                       ANDAs in 1997. In 2009, only 119,094 Norco® prescriptions were written
                       nationally, and only 1,200 of those prescriptions were written in Ohio.
                       Norco® prescriptions have declined even further since then. For instance,
                       in 2016, only 58,653 Norco® prescriptions were written nationally, and
                       only 977 of those prescriptions were written in Ohio. In 2016, Norco®
                       prescriptions constituted just 0.03% of the total market of opioids
                       prescribed in the United States.

       In providing this information, Allergan does not intend to limit in any way the evidence,
information, arguments, testimony or defenses it may introduce at trial or any other proceeding.
To the extent that this interrogatory seeks additional information, Allergan objects that it is

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were identified by looking at prescriber data and identifying current prescribers of Kadian®,
branded morphine, and generic morphine. If these prescribers were within the territories of
Inventiv sales representatives, the sales representatives would be assigned these prescribers. If
these prescribers were not within the territories of Inventiv sales representatives, Actavis Inc.
would send these names to TMS Health and Technekes so that a telesales representative could call
the prescriber. When a prescriber on a TMS Health or Technekes call list was being detailed in-
person by Inventiv, that prescriber would be removed from TMS Health’s and Technekes’s call
list and added to a “Do Not Call” list. Based on Allergan’s investigation to date, Allergan has not
identified any other reasons prescribers were removed from the call list. Allergan has not located
any other information responsive to this request for its current Allergan entities, or for the Actavis
Generics Companies which are no longer affiliated with Allergan and which generally did not
detail generic drugs.

         INTERROGATORY NO. 25: Identify and provide salary and bonus information for all
of Your former or current Employees who were or are engaged in Marketing to Prescribers or
ensuring compliance with applicable laws, policies, and procedures in the Jurisdictions, including
all Employees who (1) developed, implemented, reported on, or supervised Marketing Activities
that included or targeted Prescribers in the Jurisdictions; (2) gave, assisted, or supervised speaking
programs, CME, or other promotional events, programs, or meetings conducted in the Jurisdictions
or attended by Prescribers from the Jurisdiction; (3) were responsible for ensuring compliance with
state and federal laws and regulations regarding the Marketing of Opioids, any settlement,
corporate integrity, consent judgment, or plea agreement and/or the compliance with laws and
regulations related to preventing diversion of controlled substances. Include in your response the
titles and dates of employment for all such individuals.

        AUGUST 31, 2018 RESPONSE TO INTERROGATORY NO. 25: Allergan objects to
this Request by adopting and incorporating by reference its General Objections and Objections to
Definitions. Also, Allergan further objects because Plaintiffs have exceeded the 35-interrogatory
limit when counting subparts. In addition, discovery is ongoing and Allergan’s investigation is
ongoing, and thus it specifically reserves the right to supplement its response. Further, Allergan
objects to this Request as overly broad, unduly burdensome, and not proportional to the needs of
this case to the extent it purports to call for “salary and bonus information” for “all” employees
involved in any such activity. Allergan interprets this Request as calling for compensation
information for sales representatives.
        Subject to and without waiving its objections, and subject to further investigation,
discovery and proceedings in this matter, Allergan states that Ventiv Commercial Services, LLC
(“Ventiv”) was retained between May 1, 2009 to December 31, 2012 to promote Kadian®.
Technekes, LLC (“Technekes”) also was retained in mid-2012 through 2013 to conduct marketing
services relating to Kadian®, including telemarketing and mailing promotional materials to
prescribers. The contracts with these third-party contractors included information regarding the
sales representatives’ and telemarketers’ compensation. Allergan refers Plaintiffs to its document
production for further information. For example, Allergan refers Plaintiffs to the following
documents        for      additional      information     regarding      that       compensation:
ALLERGAN_MDL_00986816; ALLERGAN_MDL_00076479.

       OCTOBER 22, 2018 RESPONSE TO INTERROGATORY NO. 25: Allergan

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incorporates all objections and statements set forth in its August 31, 2018 Objections and
Responses to Plaintiffs’ Second Set of Interrogatories. In accordance with the Court’s September
21, 2018 Order, Allergan supplements this Interrogatory response with regards to generic opioids.

        Subject to and without waiving its objections, Allergan states that it has never itself
manufactured, marketed or sold generic drugs. Prior to the fall of 2016, Allergan f/k/a Actavis,
Inc. directly or indirectly owned the equity of Actavis Elizabeth LLC, Actavis Pharma, Inc. (f/k/a
Watson Pharma, Inc.), Actavis Laboratories FL, Inc. (f/k/a Watson Laboratories Inc. Florida), and
Watson Laboratories, Inc. (the “Actavis Generics Companies”). Each of the Actavis Generics
Companies is now owned by Teva. Based on Allergan’s investigation to date, the individuals with
primary responsibility for Actavis generic drugs either remained with the Actavis Generics
Companies or left the companies altogether prior to or at the time of the transaction. Allergan,
therefore, has not been able to locate any current or former business person at Allergan who had
primary responsibility for generics opioids and who has information responsive to Interrogatory
No. 25. Nonetheless, Allergan is searching documents that are in Allergan’s possession that belong
to the Actavis Generics Companies pursuant to the Court’s September 21, 2018 Order. Pursuant
to Federal Rule of Civil Procedure 33, Allergan refers Plaintiffs to its production of documents
pursuant to that Order.

        NOVEMBER 16, 2018 RESPONSE TO INTERROGATORY NO. 25:
        Subject to and without waiving its objections, and based on Allergan’s investigation to
date, the below table identifies the primary persons in the sales and marketing departments for
Kadian®, Norco®, and generic opioids sold by former affiliates no longer owned by Allergan and
compensation information, if any, that has been identified to date:

     Employee                        Role                          Compensation Information
     Dirk Pica              Regional Sales Manager            In addition to a salary, Dirk Pica was
                                  (Norco®)                   entitled to a bonus in which 75% of his
                                                              compensation was based on objective
                                                            market share and market share change for
                                                                his portfolio of products, and the
                                                                remaining 25% was based on his
                                                            manager’s assessment of his performance.
     Bill Chase             Regional Sales Manager            No compensation information located
                                   (Norco®)
    Jim Wallace             Regional Sales Manager            No compensation information located
                                   (Norco®)
   Mike Pusateri           Executive Director, Sales          No compensation information located
                                   (Norco®)
   Nathalie Leitch      (Associate Marketing Director)        No compensation information located
                                  (Kadian®)
   Jennifer Altier     (Marketing Director - Consultant)      No compensation information located
                                  (Kadian®)
     Lisa Miller        (Product Manager - Consultant)        No compensation information located
                                  (Kadian®)


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    Employee                         Role                        Compensation Information
  Michael Kuderka      (Executive Director, Marketing        No compensation information located
                             Established Brands)
                           (Kadian® and Norco®)
    Julie Snyder         (Associate Vice President,          Compensation not tied to the sale of
                                 Marketing)                              opioids
                           (Kadian® and Norco®)
  Michael Perfetto        (Vice President, Sales and         No compensation information located
                                 Marketing)
                                  (generics)
      Jinping              (Director of Marketing)           No compensation information located
    McCormick                     (generics)
    David Myers         (Senior Manager, Products &          No compensation information located
                              Communications)
                                  (generics)
  Rachelle Galant         (Senior Product Manager)           Compensation not tied to the sale of
                                  (generics)                             opioids

       MARCH 4, 2019 RESPONSE TO INTERROGATORY NO. 25: Subject to and without

waiving its objections, Allergan also refers Plaintiff to its production of personnel files for

additional compensation-related information.       See, e.g., ALLERGAN_MDL_00181144;

ALLERGAN_MDL_00181166;           Acquired_Actavis_01170419;      Acquired_Actavis_01170658;

Acquired_Actavis_01171397;      Acquired_Actavis_01171401;       Acquired_Actavis_01540400;

Acquired_Actavis_01543660;      Acquired_Actavis_00096857;       Acquired_Actavis_00240730;

Acquired_Actavis_00397908;      Acquired_Actavis_00397970;       Acquired_Actavis_00399135;

Acquired_Actavis_00399659;      Acquired_Actavis_00667258;       Acquired_Actavis_00667303;

Acquired_Actavis_00667348;      Acquired_Actavis_00667408;       Acquired_Actavis_00674027;

Acquired_Actavis_00675168;      Acquired_Actavis_00676689;       Acquired_Actavis_01224210;

Acquired_Actavis_01225819; ALLERGAN_MDL_04213322; ALLERGAN_MDL_01053071;

ALLERGAN_MDL_01110891;                                         ALLERGAN_MDL_01195555;

ALLERGAN_MDL_00213917;                                         ALLERGAN_MDL_00214484;

ALLERGAN_MDL_00221283;                                         ALLERGAN_MDL_00406528;


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ALLERGAN_MDL_01731239;                                                ALLERGAN_MDL_01731247;

ALLERGAN_MDL_01737128;               Acquired_Actavis_00097788;         Acquired_Actavis_00174873;

Acquired_Actavis_00174964;          Acquired_Actavis_00176147;          Acquired_Actavis_00261601;

Acquired_Actavis_00261686;          Acquired_Actavis_00358517;          Acquired_Actavis_00358896;

Acquired_Actavis_00581496;          Acquired_Actavis_00583193;          Acquired_Actavis_00586603;

ALLERGAN_MDL_03477282;               Acquired_Actavis_01250914;         Acquired_Actavis_01341890;

Acquired_Actavis_01350473;          Acquired_Actavis_00399093;          Acquired_Actavis_00399672;

ALLERGAN_MDL_00472844;                                                ALLERGAN_MDL_00473006;

ALLERGAN_MDL_00481699;                                                ALLERGAN_MDL_00481741;

ALLERGAN_MDL_00490506; ALLERGAN_MDL_00490602; Acquired_Actavis_00185296;

Acquired_Actavis_00186410;          Acquired_Actavis_00610813;          Acquired_Actavis_00628532;

Acquired_Actavis_00631052;          Acquired_Actavis_00952211;          Acquired_Actavis_00955549;

Acquired_Actavis_02474442;         ALLERGAN_MDL_01021870;               Acquired_Actavis_01545885;

ALLERGAN_MDL_01021844;               Acquired_Actavis_00003928;         Acquired_Actavis_00003933;

Acquired_Actavis_00010875;          Acquired_Actavis_00191236;          Acquired_Actavis_00219149;

Acquired_Actavis_00465364;          Acquired_Actavis_00969881;          Acquired_Actavis_01402052;

Acquired_Actavis_01545875; Acquired_Actavis_01545889; Acquired_Actavis_01696007.                      In

addition, Allergan refers Plaintiffs to the deposition transcripts of the individuals listed in the chart

included in Allergan’s November 16, 2018 Supplemental Response to this Interrogatory for further

information on their compensation.


       INTERROGATORY NO. 26: Identify all Scientific Research and any other data or
information on which You relied to make or cause to be made Marketing statements described in
the Complaint, including: (1) improvement in patient function and/or quality of life while on
Opioids; (2) the risk and/or prevalence of addiction, abuse, misuse, or diversion of Opioids,
including, but not limited to, after OxyContin’s 2010 reformulation; (3) the use of risk mitigation

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       OCTOBER 22, 2018 RESPONSE TO INTERROGATORY NO. 28: Allergan
incorporates all objections and statements set forth in its August 31, 2018 Objections and
Responses to Plaintiffs’ Second Set of Interrogatories. In accordance with the Court’s September
21, 2018 Order, Allergan supplements this Interrogatory response with regards to generic opioids.

        Subject to and without waiving its objections, Allergan states that it has never itself
manufactured, marketed or sold generic drugs. Prior to the fall of 2016, Allergan f/k/a Actavis,
Inc. directly or indirectly owned the equity of Actavis Elizabeth LLC, Actavis Pharma, Inc. (f/k/a
Watson Pharma, Inc.), Actavis Laboratories FL, Inc. (f/k/a Watson Laboratories Inc. Florida), and
Watson Laboratories, Inc. (the “Actavis Generics Companies”). Each of the Actavis Generics
Companies is now owned by Teva. Based on Allergan’s investigation to date, the individuals with
primary responsibility for Actavis generic drugs either remained with the Actavis Generics
Companies or left the companies altogether prior to or at the time of the transaction. Allergan,
therefore, has not been able to locate any current or former business person at Allergan who had
primary responsibility for generics opioids and who has information responsive to Interrogatory
No. 28. Nonetheless, Allergan is searching documents that are in Allergan’s possession that belong
to the Actavis Generics Companies pursuant to the Court’s September 21, 2018 Order. Pursuant
to Federal Rule of Civil Procedure 33, Allergan refers Plaintiffs to its production of documents
pursuant to that Order.

         NOVEMBER 16, 2018 RESPONSE TO INTERROGATORY NO. 28:
         Subject to and without waiving its objections, Allergan states that the Complaint does not
identify any publications Allergan’s current or former affiliates allegedly distributed in the
Jurisdiction, and does not identify a CME or other program Allergan’s current or former affiliates
offered in the Jurisdiction. Based on its investigation to date, Allergan’s current and former
affiliates did not distribute any publication or host any CME regarding Kadian®, Norco®, generic
opioids, or opioids generally in the Jurisdiction. Further, Allergan has not identified any website
that it currently hosts for the purpose of promoting Kadian®, Norco®, generic opioids or opioids
generally. Allergan does host a website at www.kadian.com that contains Kadian®’s FDA-
approved, U.S. prescribing information. Allergan has not been able to locate information about the
number of hits on this website.

       MARCH 4, 2019 RESPONSE TO INTERROGATORY NO. 28: Subject to and without

waiving its objections, documents concerning the hit numbers on the www.kadian.com website

can be found at ALLERGAN_MDL_01101331 and ALLERGAN_MDL_01101332.


        INTERROGATORY NO. 29: Specify the number of and revenue from prescriptions of
each of Your Opioids, nationally, in the State of Ohio, and in the Jurisdictions, in each year. Include
in your response how many of those prescriptions and what proportion of that revenue was for
medically necessary or appropriate prescriptions.

       AUGUST 31, 2018 RESPONSE TO INTERROGATORY NO. 29: Allergan objects to
this Request by adopting and incorporating by reference its General Objections and Objections to
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Definitions. Also, Allergan further objects because Plaintiffs have exceeded the 35-interrogatory
limit when counting subparts. In addition, discovery is ongoing and Allergan’s investigation is
ongoing, and thus it specifically reserves the right to supplement its response.

        Subject to and without waiving its objections, and subject to further investigation,
discovery and proceedings in this matter, Allergan states that the table below identifies annually
the total number of Kadian® prescriptions since Actavis Elizabeth, LLC acquired Kadian® in
December 2008:



   Year      Nationally      Ohio      Summit          Akron       Cuyahoga          Cleveland
                                       County                       County

   2009        605,972      27,946       1,309          746           3,182             1,418

   2010        565,920      25,171       1,365          818           2,725             1,235

   2011        532,445      26,998       1,840          989           2,564             1,113

   2012        185,253      5,792        413            260            565               263

   2013        110,086      2,692        216            156            237               143

   2014        52,371       1,063         77            65             106                  65

   2015        33,359        556          39            37              70                  43

   2016        40,151        450          24            21              67                  45

   2017        28,484        365          26            23              56                  34

        Allergan states that the table below identifies annually the total number of Norco®
prescriptions since 1997:

   Year      Nationally     Ohio      Summit          Akron      Cuyahoga          Cleveland
                                      County                      County

   1997        96,430        156          3             0             9                 5

   1998       533,229       3,207       310            201           520               174

   1999      1,093,929     11,907       625            297          2,198              575

   2000      1,123,208     18,853       441            180          3,005             1,099

   2001       533,809      13,922       1,220          421          1,182              383


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   2002       642,133      15,764       1,363         439           1,420              462

   2003       365,953       8,620       638           186            779               202

   2004       190,444       4,224       247            57            480               187

   2005       156,765       3,013       216            55            387               139

   2006       145,683       1,875       162            59            289               115

   2007       136,881       1,605       123            52            248               99

   2008       125,780       1,416       136            80            189               51

   2009       119,094       1,200        82            46            168               46

   2010       126,084       1,002        68            44            133               45

   2011       116,890       1,055        38            8             118               59

   2012        92,911       1,400        69            33            142               74

   2013       258,050       2,405       121            78            296               212

   2014       109,695       1,908        98            61            189               111

   2015        74,735       1,344        77            44            142               94

   2016        58,653        977         49            30            110               70

   2017        47,923        782         40            28             97               74

      Allergan’s national revenue for Kadian® and Norco® since 2014 is as follows:
     Product             2014               2015             2016               2017
     Kadian®              $8.5             $18.7            $19.6               $11.3
     Norco®              $18.0             $22.9            $21.6               $20.4
        Allergan states that Allergan is not aware of any medically unnecessary or inappropriate
prescriptions of Kadian® or Norco® in or related to Cuyahoga County, Summit County, the City
of Cleveland, or the City of Akron. Nor have Plaintiffs—which have the burden of proof, which
must prove that there were such prescriptions in order to prove their claims, and which Defendants
have repeatedly asked for such information—identified a single such prescription in any of
Cuyahoga County, Summit County, the City of Cleveland, or the City of Akron.

       OCTOBER 22, 2018 RESPONSE TO INTERROGATORY NO. 29:

       Allergan incorporates all objections and statements set forth in its August 31, 2018
Objections and Responses to Plaintiffs’ Second Set of Interrogatories. In accordance with the

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Court’s September 21, 2018 Order, Allergan supplements this Interrogatory response with regards
to generic opioids.

        Subject to and without waiving its objections, Allergan states that it has never itself
manufactured, marketed or sold generic drugs. Prior to the fall of 2016, Allergan f/k/a Actavis,
Inc. directly or indirectly owned the equity of Actavis Elizabeth LLC, Actavis Pharma, Inc. (f/k/a
Watson Pharma, Inc.), Actavis Laboratories FL, Inc. (f/k/a Watson Laboratories Inc. Florida), and
Watson Laboratories, Inc. (the “Actavis Generics Companies”). Each of the Actavis Generics
Companies is now owned by Teva. Based on Allergan’s investigation to date, the individuals with
primary responsibility for Actavis generic drugs either remained with the Actavis Generics
Companies or left the companies altogether prior to or at the time of the transaction. Allergan,
therefore, has not been able to locate any current or former business person at Allergan who had
primary responsibility for generics opioids and who has information responsive to Interrogatory
No. 29. Nonetheless, Allergan is searching documents that are in Allergan’s possession that belong
to the Actavis Generics Companies pursuant to the Court’s September 21, 2018 Order. Pursuant
to Federal Rule of Civil Procedure 33, Allergan refers Plaintiffs to its production of documents
pursuant to that Order.

       NOVEMBER 16, 2018 RESPONSE TO INTERROGATORY NO. 29:
       Subject to and without waiving its objections, Allergan states that in addition to the
information previously provided, Plaintiffs can find information about the number of scripts for
Kadian®, Norco® and generic opioids in IMS data and Allergan’s available transactional data
produced at ALLERGAN_MDL_02485011.
       The following documents contain responsive information relating to generic opioid
products:

   •   Account receivable transaction level data from Q2 2017 through June 2018 for Teva-
       Acquired Actavis Entities can be found at TEVA_MDL_A_02419965.

   •   Net sales data from 2016 – 2017 for Teva-Acquired Actavis Entities generics can be
       found at TEVA_MDL_A_02416208 and TEVA_MDL_02419959.

   •   Net sales data from 2014 – 2015 for Teva-Acquired Actavis Entities generics products
       can be found at TEVA_MDL_A_02416208 and TEVA_MDL_02419959.

   •   Accounts receivable transaction level data from 2013 – 2017 (Q1) for Teva- Acquired
       Actavis Entities generics can be found at TEVA_MDL_A_02419969,
       TEVA_MDL_A_02419963 and TEVA_MDL_A_02419960.

   •   Additional summary sales data by unit (not dollar value) from 2011 to 2017 for Teva-
       Acquired Actavis Entities generics can be found at TEVA_MDL_A_02419962.

        Indirect sales data from 2001 – Q2 2014 for Teva-Acquired Actavis Entities generics and
indirect sales data from 2004 to Q2 2014 for Watson generics can be found at:


       •   TEVA_MDL_A_07869902 - TEVA_MDL_A_07876853

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       •   TEVA_MDL_A_07876854 - TEVA_MDL_A_07880642

       •   TEVA_MDL_A_07880643 - TEVA_MDL_A_07885149

       •   TEVA_MDL_A_07885150 - TEVA_MDL_A_07889184

       •   TEVA_MDL_A_07889185 - TEVA_MDL_A_07889288

       •   TEVA_MDL_A_07889289 - TEVA_MDL_A_07901019

       •   TEVA_MDL_A_07901020 - TEVA_MDL_A_07907288

       •   TEVA_MDL_A_07907289 - TEVA_MDL_A_07914957

       •   TEVA_MDL_A_07914958 - TEVA_MDL_A_07921676

       •   TEVA_MDL_A_07921677 - TEVA_MDL_A_07921925

       •   TEVA_MDL_A_07921926 - TEVA_MDL_A_07921926

       •   TEVA_MDL_A_07921927 - TEVA_MDL_A_07921927

       •   TEVA_MDL_A_07921928 - TEVA_MDL_A_07928168

       •   TEVA_MDL_A_07928169 - TEVA_MDL_A_07937356

       Indirect sales data from Q2 2014 to Q1 2017 for Teva-Acquired Actavis Entities generics
and direct sales data from Teva-Acquired Actavis Entities QAD is currently in production.

        INTERROGATORY NO. 30: Identify all individuals and entities You have interviewed
or from whom You have obtained testimony or from whom You have obtained or attempted to
obtain Documents, Communications, or other information that tends to support, contradict,
concern, or relate to the allegations in the Complaint or Your defenses. Include in your response a
description of the Documents, Communication, or information obtained from such individuals or
entities.

        AUGUST 31, 2018 RESPONSE TO INTERROGATORY NO. 30: Allergan objects to
this Request by adopting and incorporating by reference its General Objections and Objections to
Definitions. Also, Allergan further objects because Plaintiffs have exceeded the 35-interrogatory
limit when counting subparts. In addition, discovery is ongoing and Allergan’s investigation is
ongoing, and thus it specifically reserves the right to supplement its response. Allergan further
objects to this Request to this Request to the extent it calls for information that is protected by the
attorney-client privilege and attorney work product protection. In addition, Allergan objects to the
extent this Request purports to call for a “description of the Documents, Communication, or
information obtained from such individuals or entities” as overly broad and unduly burdensome;
to the extent responsive to Plaintiff’s Requests for Production, Allergan will produce documents,
including metadata identifying such documents, gathered from the custodial sources listed below.

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 Date: March 4, 2019                   Respectfully submitted,


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